             Case 3:22-cv-07182-WHA          Document 52           Filed 12/27/23   Page 1 of 3




 1 ISMAIL J. RAMSEY (CABN 189820)
   United States Attorney
 2 MICHELLE LO (NYRN 4325163)
   Chief, Civil Division
 3 PAMELA T. JOHANN (CABN 145558)
   Assistant United States Attorney
 4
          450 Golden Gate Avenue, Box 36045
 5        San Francisco, California 94102
          Telephone: (415) 436-7025
 6        Facsimile: (415) 436-7234
          pamela.johann@usdoj.gov
 7
   Attorneys for Defendant UNITED STATES
 8 DEPARTMENT OF LABOR

 9

10                                    UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12

13   THE CENTER FOR INVESTIGATIVE                      ) Case No. 22-cv-07182-WHA
     REPORTING and WILL EVANS,                         )
14                                                     )
             Plaintiffs,                               ) STIPULATED REQUEST TO STAY RELEASE
15                                                     ) ORDER; [PROPOSED] ORDER
        v.                                             )
16                                                     )
     UNITED STATES DEPARTMENT OF                       )
17   LABOR,                                            )
                                                       )
18                                                     )
             Defendant.                                )
19                                                     )

20

21           WHEREAS, on December 22, 2023, the Court entered an order denying in part and granting in

22 part the parties’ cross-motions for summary judgment, Dkt. No. 51; and

23           WHEREAS, as part of that order, the Court ordered Defendant to “produce the remaining EEO-1

24 reports at issue within 28 days of” the order, id. at 13; and

25           WHEREAS, the Government’s deadline to file a notice of appeal is sixty days from the date of

26 that order, or February 20, 2024. See 28 U.S.C. § 2107(b); Fed. R. App. P. 4(a)(1)(B); and
27           WHEREAS, the decision to appeal rests with the Solicitor General of the United States, who

28 needs time to consider the issue. See 28 C.F.R. § 0.20(b); and

     STIPULATED REQUEST TO STAY RELEASE ORDER; [PROPOSED] ORDER
     No. 22-cv-07182-WHA                    1
30
            Case 3:22-cv-07182-WHA            Document 52        Filed 12/27/23       Page 2 of 3




 1          WHEREAS, Defendant United States Department of Labor (“DOL”) has requested an extension

 2 of the production deadline to allow the Government time to consider its appellate options, and Plaintiffs

 3 have agreed to DOL’s request; and

 4          WHEREAS, Plaintiff has requested that to the extent their time for filing a motion for attorneys’

 5 fees has begun to run, this deadline be extended an additional 30 days beyond the appeal deadline;

 6          NOW THEREFORE, pursuant to Civil Local Rule 6-2, it is hereby stipulated by the parties to

 7 this action, through their counsel of record, as follows:

 8          1.      DOL’s deadline to release the records ordered produced by the Court in its December 22,

 9 2023 order, Dkt. No. 51, shall be extended to February 20, 2024.

10          2.      To the extent that Plaintiffs’ time for filing a motion for attorneys’ fees and costs has

11 begun to run or begins to run between the date of this stipulation and March 21, 2024, that deadline shall be

12 extended to March 21, 2024.

13          The parties respectfully request that the Court enter an order extending the deadlines in

14 accordance with this stipulation.

15 DATED: December 27, 2023                                Respectfully submitted,

16                                                         ISMAIL J. RAMSEY
                                                           United States Attorney
17
                                                           /s/ Pamela T. Johann*
18                                                         PAMELA T. JOHANN
                                                           Assistant United States Attorney
19
                                                           Attorneys for Defendant
20

21 DATED: December 27, 2023                                THE CENTER FOR INVESTIGATIVE
                                                           REPORTING
22
                                                           /s/ Zachary E. Colbeth
23                                                         ZACHARY E. COLBETH

24                                                         Attorneys for Plaintiffs

25

26 *The filer of this document hereby attests pursuant to Civil Local Rule 5-1(i)(3) that all signatories have
   concurred in the filing of this document.
27

28

     STIPULATED REQUEST TO STAY RELEASE ORDER; [PROPOSED] ORDER
     No. 22-cv-07182-WHA                    2
30
           Case 3:22-cv-07182-WHA        Document 52      Filed 12/27/23     Page 3 of 3




 1                                         [PROPOSED] ORDER

 2         Pursuant to stipulation, and good cause appearing therefor, IT IS SO ORDERED.

 3

 4 Dated: __________________
                                                     ______________________________
 5                                                         HON. WILLIAM ALSUP
                                                      United States Senior District Judge
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

     STIPULATED REQUEST TO STAY RELEASE ORDER; [PROPOSED] ORDER
     No. 22-cv-07182-WHA                    3
30
